                      Case 1:20-mj-00137-DAR Document 1 Filed 07/17/20 Page 1 of 1
AO 91 (Rev. 08/09) Criminal Complaint


                                     UNITED STATES DISTRICT COURT
                                                                 for the
                                                       DistrictDistrict
                                                  __________    of Columbia
                                                                        of __________

                  United States of America                          )
                             v.                                     )
                                                                    )      Case No.
                CODY MICHAEL TARNER                                 )
                   DOB: xx/xx/xxxx                                  )
                                                                    )
                           Defendant(s)


                                                      CRIMINAL COMPLAINT

         I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of                     July 15, 2020               in the county of                                      in the
                       District of            Columbia          , the defendant(s) violated:

            Code Section                                                      Offense Description
   18 U.S.C. § 844(i)                   did maliciously damage and destroy, or attempt to damage and destroy, by means of fire and
   18 U.S.C. § 1361                     explosive materials, vehicles and their contents, that is, a 2016 Ford Interceptor a 2017 Ford
                                        Expedition, and a 2012 Ford Econoline, property of the Supreme Court of the United States
                                        Police Department and the United States Federal Government used in and affecting interstate
                                        and foreign commerce; and did willfully injure or commit depredation on property of the United
                                        States causing damage in excess of $1,000.




         This criminal complaint is based on these facts:
SEE ATTACHED STATEMENT OF FACTS




         ✔ Continued on the attached sheet.
         u



                                                                                               Complainant’s signature

                                                                                         BRENT THORWARD, Officer
                                                                                                Printed name and title

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7HOHSKRQH VSHFLI\UHOLDEOHHOHFWURQLFPHDQV                                                                Digitally signed by Deborah A.
                                                                            Deborah A. Robinson Robinson
Date:             07/17/2020                                                                                 Date: 2020.07.17 19:17:06 -04'00'
                                                                                                  Judge’s signature

City and state:                         Washington, DC                        DEBORAH A. ROBINSON, U.S. Magistrate Judge
                                                                                                Printed name and title




        Print                        Save As...                  Attach                                                    Reset
